Case:18-02044-EAG11 Doc#:149 Filed:02/18/21 Entered:02/18/21 13:56:24                            Desc: Main
                           Document Page 1 of 2




                       IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF PUERTO RICO

   IN RE:
                                                                      CASE NO. 18-02044-EAG
        ENRIQUE RODRÍGUEZ NARVÁEZ
           MYRNA I. RIVERA ORTIZ
                                                                      CHAPTER 11
                           DEBTORS


                         MOTION TO WITHDRAW MOTION TO MAKE SALE

           TO THE HONORABLE COURT:

      COMES NOW Debtors through the undersigned attorney and respectfully requests and prays

  for the following:

      1. On April 16, 2018, Debtors filed its voluntary petition for relief pursuant to Chapter 11 of

  the Bankruptcy Code, 11 U.S.C. §1101 et.seq.

      2. On February 18, 2021, Debtors filed a Motion to Sell Property Free and Clear of Lien under

  Section 363(f). See, docket no. 148.

      3. Debtors with this motion are withdrawing said docket no. 148 since incorrect PDF was

  attached.

      4. Debtors request from this Honorable Court to take notice of this motion.

      WHEREFORE, Debtors pray that this Honorable Court takes notice of this motion and grants

  the withdrawal of docket no. 148, with any other provision that in accordance to law this Honorable

  Court deems, just and proper.

      I HEREBY CERTIFY that this motion has been electronically filed with the Clerk of the Bankruptcy

  Court using CM/ECF which will forward a copy of the same to the office of U.S. Trustee, and to all parties

  in interest.



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Case:18-02044-EAG11 Doc#:149 Filed:02/18/21 Entered:02/18/21 13:56:24         Desc: Main
                           Document Page 2 of 2




        In Caguas, Puerto Rico, this February 18, 2021

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                                          /s/ Victor Gratacós Díaz (127906)




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